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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                                       MDL NO 2924
   PRODUCTS LIABILITY                                                                                20-MD-2924
   LITIGATION
                                                                   JUDGE ROBIN L ROSENBERG
                                                           MAGISTRATE JUDGE BRUCE REINHART

   __________________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

       AGREED ORDER GRANTING UNOPPOSED MOTION TO DROP VKT
   PHARMA PRIVATE LTD. AND VKT PHARMA INC. FROM MASTER COMPLAINTS

           THIS CAUSE came before the Court on Plaintiffs’ Co-Lead Counsel’s Unopposed

   Motion to Drop VKT Pharma Private Ltd. and VKT Pharma Inc. from Master Complaints

   [DE # 1693], without prejudice, pursuant to Pretrial Order # 40 [DE # 1498] and Federal Rule of

   Civil Procedure 21. 1 Having reviewed the Unopposed Motion, and being otherwise fully advised

   in the premises, it is hereby ORDERED and ADJUDGED that the Unopposed Motion is

   GRANTED. Defendants VKT Pharma Private Ltd. and VKT Pharma Inc. are dropped, without

   prejudice, from the following Master Complaints:

           1.       Master Personal Injury Complaint [DE # 887] at ¶¶ 131-134.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 8th day of

   September, 2020.


                                                        ROBIN L. ROSENBERG
                                                        UNITED STATES DISTRICT JUDGE



   1
     “Master Complaints” refers collectively to the Master Personal Injury Complaint [DE # 887], Consolidated
   Consumer Class Action Complaint [DE # 889], and Third-Party Payor Class Complaint [DE # 888]. Pursuant to
   Pretrial Order # 40, the specific paragraph number in the corresponding Master Complaint affected by the modification
   are identified herein.
